                       EXHIBIT C


            (Action Taken Report by EOWII)




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                                                                                              Copy

                 IN THE COURT OF SH. MANOJ KUMAR RANA, ACJM, GURUGRAM



                       CYBER ROOT                      VS             PAPPU KUMAR



                                          COMI 568/21

                                     ACTION TAKEN REPORT

Sir,

          The investigation of the complaint bearing number 7449/CP/21/BPT dated 21.06.2021
(DD.MM.YYYY), Diary No. 84-EOW-II dated 29-06-2021 of the complainant company CYBER ROOT
was done by me, the Sub Inspector. It was found upon the investigation that the bank statement of
account number 2511468461 of the complainant company was accessed and leaked by the bank
officials Mr. Deepak Kumar who was posted at the Kotak Mahindra Bank Branch at A-3/14 Paschim
Vihar, Delhi and Mr. Pappu Kumar who was posted at Netaji Subhash Place, New Delhi. On
investigation, the case was found to be that of Delhi region so, the complaint has been forwarded
for further action to DCP, North-West, Delhi through the letter number 155/PD-DCP-HQRS dated
13.10.2021 of SCP/Hqrs/Gurgaon. The copy of the investigation report and the letter number
155/PD-DCP-HQRS, dated 13.10.2021 is attached herewith for perusal. Report is presented
herewith.

                                                                              Signature [Illegible]
                                                                     Sub Inspector Umesh Kumar,
                                                                       Economic Offence Wing-2,
                                                                                      Gurugram.
                                                                               Dated 07.12.2021




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                                                                                    84 – EOW - II
                                                                                    29. 06. 2021


Economic Offence Wing-II                                                    District Gurugram I
Complaint No :-7449/CP/21/BPT dt 21.06.2021 & Diary No 84 – EOW – II Dt. 29.06.2021

Complainant :- Chiranshu Ahuja CEO Cyber Root Risk Advisory Pvt. Ltd., Emaar Digital Greens, Sec
               61, Gurugram.

Accused :-     1. Mr. Pappu Kumar. Ex-employee, Kotak Mahindra Bank Ltd
               2. Mr. Deepak, Ex-employee, Kotak Mahindra Bank Ltd.
               3. Mr. Ashutosh Dhyani, Branch Manager, Kotak Mahindra Bank Ltd.
               4. Mr. Kanhaiya Agarwal, Area Manager, Kotak Mahindra Bank Ltd.
               5. Mr. Sumit Gupta, Relationship Manager, Kotak Mahindra Bank Ltd.
               6. Regional Manager, Kotak Mahindra Bank Ltd.
               7. Mr. Haralambos Tsiattalou, Partner, Stokoe Partnership Solicitors.

Charges :- About leaking of the bank statement of account Number2511468461 of Kotak Mahindra
Bank Branch JMD, Regent Square, Gurugram of the complainant company Cyber Root Risk Advisory
Pvt Ltd. to the third party.

Summary of the investigation :- Sir, the investigation of the said complaint was done by me, the sub
inspector. During the investigation, the alleged bank Kotak Mahindra bank branch of JMD Regent
Square, Gurugram was included in the investigation by issuing a notice to them and the accused Mr.
Pappu Kumar, Mr. Deepak Kumar and one more person Onkar Nath Tripathi were included in the
investigation and their statements were recorded and are attached herewith. On behalf of the
accused Kotak Mahindra Bank, Mr. Ashutosh Dhyani, the Branch Manager, JMD Regent Square,
Gurugram appeared and presented the answers to the questions. While going through this, it was
found that one Farhad Azima, an Iranian aviation executive has filed a petition against Cyber Root
Risk Advisory Pvt. Ltd. And others in the District Court for the Middle District of North Carolina,
United States, for hacking and publishing his personal details. A hefty sum of money was transferred
to the complainant company Cyber Root Risk Advisory Pvt Ltd by Mr. Del Rosso, CEO of VMS (Vital
Management Services Inc.) for hacking into the details of Farhad Azima about which a law firm Miller
and Chevalier had asked for the bank statement of the complainant company Cyber Root for the
details of illegal hacking payment. The bank refused to issue the bank statement/personal
information at the request of a third party. When the complainant company informed Kotak
Mahindra Bank branch JMD Regent Square, Gurugram about leaking of its bank statement from
01.04.2016 to 01.07.2020, the bank made an internal inquiry. In the inquiry, it was found that the
bank statement was generated on 30.06.2020 and 01.07.2020 by Mr. Deepak Kumar, the employee
of Kotak Mahindra Bank, at Netaji Subhash Place, New Delhi branch, at the request of Mr. Pappu
Kumar, an employee of Kotak Mahindra Bank, at Netaji Subhash Place, New Delhi branch and it was
given to him. Who had given this statement to a person called Onkar Nath Tripathi. The bank inquiry
found that no other official or officer of the bank was involved in this. Those who leaked the bank
statement, Mr. Pappu Kumar was terminated on 24.03.2021 and Mr. Deepak Kumar was terminated
on 25.03.2021 according to the bank’s regulations.

        In the investigation of the complaint, it was found that the bank statement was accessed
and leaked by the bank employee Mr. Deepak Kumar, who was posted at Kotak Mahindra Bank’s
branch at A-3/14 Paschim Vihar, Delhi and Mr. Pappu Kumar who was posted at Kotak Mahindra
Bank’s branch at A-3/14 Paschim Vihar, Delhi. Since on investigation, it was found that the case




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belongs to Delhi s region, the complaint is recommended to be sent to DCP, North West, Delhi for
further action and investigation. The report is presented herewith.

Attachment :- Original complaint with investigation report documents ({Page 01 to )

                                                                       Signature [Illegible]
                                                                         (SI Umesh Kumar)
                                                                        EOW-II, Gurugram
                                                                         Date:- 06.10.2021

Sir,
        The investigation for the above complaint was done by Sub Inspector Umesh Kumar. From
the investigation of the complaint, it was found that the bank account of the complainant company,
bearing account number 2511468461 was accessed and leaked by bank employee Mr. Deepak
Kumar who was posted at Kotak Mahindra Bank’s branch at A-3/14 Paschim Vihar, Delhi and Mr.
Pappu Kumar, who was posted at Kotak Mahindra Bank’s branch at A-3/14 Paschim Vihar, Delhi.
Since, on the investigation the case was found to be of Delhi region , it is recommended that the
complaint be sent to concerned DCP, North West, Delhi. The report is presented herewith.

Attachment: Original complaint with the investigation report documents (Page 01 to )
                                                                            Signature [Illegible]
                                                                         (Inspector Bijender Singh)
Assistant Commissioner of Police,                                         Incharge
Crime-2, Gurugram.                                                        EOW-II, Gurugram
                                                                          Date – 06.10.2021




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Economic Offence Wing – IInd                                                    District Gurugram I

        Statement of Mr. Deepak Kumar son of Mr. Suryalal, a resident of At & Post Narayanpur
Kalan, District Parapgadh, U.P. | Aged 33 years | Mobile Number 8010403680

        Stated that I am a resident of the above address and at present I am residing as a tenant at
House No 692, Saini Mohalla, Nangloi, Delhi with my wife. I am a graduate. I joined Kotak Mahindra
Bank in the year 2014 as Assistant Manager and was posted till 2019, at A-3/14 Paschim Vihar, Delhi
branch of the bank and joined the H7 Model Town 3, on promotion as Sales Manager, in the year
2019. In the last week of June 2020, my colleague Pappu Kumar asked me for the bank statement of
account number 2511468461 of Netaji Subhash branch, so I sent him the statement of the said
account from April 1, 2016 to July 01 2020 from my email ID Deepak.s.kumar@kotak.com to his
email address pappu.kumar@kotak.com in confidence. Later, I came to know that one Mr. Onkar
Nath Tripathi had obtained this by fraud and had misused it by handing over it to someone of his
acquaintances. In this regard, the bank had dismissed me and Deepak Kumar from the job on
25.03.2021. As a mistake is committed by me as I was fraudulently used in providing a customer’s
bank details which were provided to a third party. I may please be pardoned for this. I have already
provided you the print out of screen shot of the details sent by Mr. Pappu Kumar to me on
Whatsapp. The statement was written, heard and read by me and found to be correct.
[Handwritten: Pappu Kumar had promised to send the Request form next day. So, believing Pappu
Kumar, I had sent the soft copy of the statement after receiving his mail on his email address
pappu.kumar@kotak .com. which was with the bank.

                                                        Signature [Illegible]
                                                             13.08.2021
                                Attested
                        Signature [Illegible




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Economic Offence Wing – IInd                                                       District Gurugram I

         Statement of Mr. Pappu Kumar son of Mr. Ramnandan, a resident of At & Post Tiwari,
District Nalanda, Bihar. Aged 42 years. Mobile Number 9711317179

         Stated that, I am a resident of the above address and at present I am residing at 305 D,
Paschim Vihar, B. G. 6, New Delhi-66 on rent with my wife and kids, on rental basis. I have passed A.
B. A. from Bharti Vidyapeeth University, Delhi. I had joined Kotak Mahindra Bank as an Assistant
Manager in the year 2010 and I was working as Assistant Manager from 2010 to 2019 in the A-3/14
Paschim Vihar, Delhi branch. In this branch Mr. Omkar Nath Tripathi, mobile number 9999290352,
had opened his and his wife and kids personal account in the said bank. Therefore, I was knowing
him well. He used to visit the bank. In July 2019 I was promoted as Sales Manager and transferred to
Kotak Bank’s Netaji Subhash Place branch. In the last week of June 2020, I received a Whatsapp call
from Omkar Nath Tripathi, and he said he wants the bank statement of account number
2511468461 and he sent me the details of the account on Whatsapp and he said that this account
belongs to a customer of his friend. So, I asked him for a request letter, to which he promised to
make it available later. I asked the service officer to get the bank statement for which he asked for
the request letter and in the absence of a request letter, he refused to get the statement. So, I called
Mr. Deepak Kumar, Sales Manager at H7 Model Town 3, New Delhi 110009 branch and asked him to
get the statement of the said account and sent him the details of the account on WhatsApp and he
sent me the bank statement from 01 April 2016 to 01 July 2020 from his email ID
deepak.kumar@kotak.com to my email address pappu.kumar@kotak.com I took a printout of this
statement and gave it to Omkar Nath Tripathi. I came to know later that Omkar Nath Tripathi had
fraudulently got the statement issued and misused it. In this regard the bank has dismissed me and
Deepak Kumar from the job on 25.03.2021. The mistake I have committed by inadvertently getting
the customer’s details made available to the third party, for this I may please be pardoned. I have
already submitted the printout of Whatsapp chat of Omkar Nath Tripathi and the details of the bank
statement asked by him and my chat with Deepak Kumar in which I had asked for the bank
statement. The statement was written, heard and read and found it to be correct.
[HW: I had asked Deepak to send after confirmation from the customer.




                                                 Signature [Illegible]
                                                                          Attested




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      City of New York, State of New York, County of New York




      I, Dan McCourt, hereby certify that the document “2021.12.07 - ATR by EOW II” is, to
      the best of my knowledge and belief, a true and accurate translation from Hindi into
      English.




      ______________________
      Dan McCourt



      Sworn to before me this
      November 17, 2022



      _____________________
      Signature, Notary Public




      ___________________
      Stamp, Notary Public




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